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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 BARNARD COLLEGE,
                                                                    ORDER CONFIRMING
                      Petitioner, Counter-Respondent,               ARBITRATION
             V.
                                                                    19 Civ. 531 (AKH)
 TRANSPORT WORKERS UNION OF
 AMERICA, AFL-CIO LOCAL 264
                                                                          USDC Sl:'\Y
                      Respondent, Cross-Petitioner.                       DOCU!\:ff,T
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ALVIN K. HELLERSTEIN, U.S.DJ.:

                  Petitioner Barnard College ("Barnard" or "petitioner") moves to vacate an arbitral

award dated January 2, 2019, while respondent Transport Workers Union of America, AFL-CIO

Local 264 ("respondent") moves to confirm the same award, pursuant to Section 301 of the

Labor Management Relations Act, 29 U.S.C. § 185. These proceedings arise in the context of an

employment dispute, in which Barnard seeks to dismiss an employee, Orton Reynolds

("Reynolds") for engaging in sexual harassment.

                  Pursuant to their collective bargaining agreement ("CBA"), the parties submitted

the dispute to arbitration by a jointly selected arbitrator, Carmelo Gianino. The parties presented

the following issues: 1) Did the employer, Barnard College, have just cause to discharge the

grievant, Orton Reynolds, effective on or about March 1, 2018; if not, what shall be the remedy?

2) Did the employer, Barnard College, violate Sections 8(a)(l) and 8(a)(3) of the National Labor

Relations Act by discharging Orton Reynolds effective on or about March 1, 2018?

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                 The arbitration took place over four days and involved testimony and

documenta ry evidence. The arbitrator, found that, in the course of representin g another

individual in an unrelated proceeding , Reynolds stated that he could not question a witness, who

was a Barnard employee, because she "was making him uncomforta ble with her attire-her

blouse was cut too low." Award, Ex A, ECF 7-1, at 2. The arbitrator found that Reynolds, a

security officer at Barnard and president of Local 264, violated Barnard's Policy Against

Discrimina tion and Sexual Harassmen t, that the complainan t was "humiliate d and hurt by

[Reynolds' ] actions," and that "some disciplinary penalty must be imposed." Id. at 4.

                 The arbitrator nevertheles s concluded that, in light of employee's employmen t

history, termination was "overkill." Award, Ex A, ECF 7-1, at 4. Instead, the award ordered the

employee to return to service, forfeiting back pay and seniority rights for the term of his

suspension . Id. The arbitrator also found that Barnard did not violate the National Labor

Relations Act.

                 Upon considerati on, I confirm the arbitral award.



                                             Discussion

                 Petitioner presents three arguments for vacating the arbitral award and against

confirming the award: first, that the award is against public policy; second, that the award

exceeds the scope of the arbitrator's authority under the CBA; and third, that the arbitrator acted

in manifest disregard of the law and the parties' agreement. Each of these objections fail.




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        A.      Standard

                Section 10(a)(4) of the Federal Arbitration Act provides that an arbitral award

 may be vacated "where the arbitrators exceeded their powers, or so imperfectly executed them

that a mutual, final, and definite award upon the subject matter submitted was not made." 9

U.S.C. § 10(a)(4). "As a 'judicial gloss' on section l0(a), the Second Circuit recognizes two

additional bases for vacatur: where the award is in 'manifest disregard' of the law or of the terms

of the parties' agreement. Am. Centennial Ins. Co. v. Global Int'! Reinsurance Co., No. 12-cv-

1400 (PKC), 2012 WL 2821936 (S.D.N.Y. July 9, 2012) (citing Schwartz v. Merrill Lynch &

Co., Inc., 665 F.3d 444, 451-52 (2d Cir. 2011).

                "[ A ]federal court's review of labor arbitration awards is narrowly circumscribed

and highly deferentia l-indeed, among the most deferential in the law." Nat'! Football League

Mgmt. Council v. Nat'! Football League Players Ass'n, 820 F.3d 527,532 (2d Cir. 2016). A

court "must simply ensure that the arbitrator was 'even arguably construing or applying the

contract and acting within the scope of his authority' and did not 'ignore the plain language of

the contract.' These standards do not require perfection in arbitration awards. Rather, they

dictate that even if an arbitrator makes mistakes of fact or law, we may not disturb an award so

long as he acted within the bounds of his bargained-for authority." Id. (quoting United

Paperworks Int'! Union v. Misco, Inc., 484 U.S. 29, 38 (1987)).

               "Normally, confirmation of an arbitration award is 'a summary proceeding that

merely makes what is already a final arbitration award a judgment of the court,' and the court

'must grant' the award 'unless the award is vacated, modified, or corrected."' D.H Blair & Co.

v. Gottdiener, 462 F.3d 95, 110 (2d Cir. 2006) (internal citations omitted) (citing 9 U.S.C. § 9).

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 "The arbitrator's rationale for an award need not be explained, and the award should be

 confirmed if a ground for the arbitrator's decision can be inferred from the facts of the case." Id.

 (internal citations and quotation marks removed). "Only 'a barely colorable justification for the

 outcome reached' by the arbitrators is necessary to confirm the award." Id.

                "A party moving to vacate an arbitration award has the burden of proof, and the

 showing required to avoid confirmation is very high." D.H Blair & Co. v. Gottdiener, 462 F.3d

95, 110 (2d Cir. 2006). "A party seeking to vacate an arbitration award on the basis of manifest

disregard of the law must satisfy a two-pronged test, proving that: (1) the arbitrator knew of a

governing legal principle yet refused to apply it or ignored it altogether, and (2) the law ignored

by the arbitrator was well defined, explicit, and clearly applicable to the case." Id. at 110-11

(internal quotation marks omitted).

                Section 14 of the collective bargaining agreement provides that "[n]o employee

shall be discharged or suspended except for a just and sufficient cause." Ex B, ECF 7-2, at 7.

The agreement sets out procedures for grievances. Id. at 7-9. "[T]he decision of the arbitrator

shall be final and binding upon both parties." Id. at 9.



       B.       The Narrow Public Policy Exception Does Not Afford a Basis to Vacate the

                Award

                Barnard argues that the award should not be confirmed for violating public policy.

According to Barnard, the award, having found sexual harassment and serious harm to the

complainant and nevertheless having reinstated Reynolds, condones sexual harassment in the

workplace. ~arnard argues that these considerations are particularly salient in this case, because

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 Barnard is a women's college, and Reynolds ' position as a campus security officer requires

 regular contact with women. Barnard further points to its obligations under Title VII of the Civil

 Rights Act of 1964, 42 U.S.C. § 2000e et seq., Title IX of the Educatio n Amendm ents Act of

 1972, 20 U.S.C. § 1681 et seq., New York State law, and New York City law.

                "[T]here is an explicit, well-defined, and dominant public policy against sexual

 harassme nt in the work place." Newsday, Inc. v. Long Island Typographical Union, No. 915,

 CWA, AFL-CIO., 915 F.2d 840, 845 (2d Cir. 1990). Vacatur for reasons of public policy turns

on "whether the grievant had been given explicit warnings that the complain ed of behavior

violated the sexual harassme nt policies of the employe r-either from previous arbitral awards,

see Newsday, or in previous grievance procedures provided for in collective bargaining

agreements." Jam. Buses, Inc. v. Transp. Workers' Union, Local 100, No. 02-cv-2533 (SJ), 2003

U.S. Dist. LEXIS 6209, * 19 (E.D.N. Y. Mar. 31, 2003). In Newsday, "vacatur was appropriate

because the arbitral award in question blatantly ignored a previous arbitration award involving

the same grievant which explicitly stated that any further violations of the company 's sexual

harassment policy would result in the grievant' s dismissal." Id. at *18.

               In this case, the arbitrator found that Reynolds did not have any history of sexual

harassme nt and thus lacked "repeated warnings " or notice "that any further acts of harassme nt

... would be grounds for discharge." Newsday, 915 F.2d at 845. Contrary to its arguments,

petitione r's citations to a February 25, 2018 email from Reynolds do not establish that Reynolds

had notice before the incident in question. Email, ECF 18-1, at 2.

               Even consideri ng the existence of another allegation of sexual harassment,

Reynolds did not have notice or warnings of the type required by this "very narrow exception."

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 Jam. Buses, 2003 U.S. Dist. LEXIS 6209, * 19. The arbitrator evaluated other informal

 allegations against Reynolds and ultimately decided not to consider them, because they were not

 "formalized and entered on an employment record." Award, Ex A, ECF 7-1, at 2. These

 investigations also appear not to have been finalized. Finally, vacating this award would not

 have "the effect of upholding [an earlier] arbitral award." Saint Mary Home, Inc. v. Serv.

Employees Int'! Union, Dist. I 199, 116 F.3d 41, 47 (2d Cir. 1997) (discussing Newsday).



        C.      The Arbitrator Did Not Exceed His Authority Under the CBA

                Barnard next argues that Arbitrator Gianino exceeded his authority under the

CBA, because he did not invoke the "just cause" language of the contract and because his

remedy contravened Barnard's own contractual authority to discipline its employee. I find that

the arbitrator acted within the scope of his authority under the collective bargaining agreement

and that the award meets the low threshold for confirmation. He had broad authority under the

contract to determine whether there was 'just and sufficient cause" to terminate Reynolds and to

formulate an appropriate remedy. See Hill v. Staten Island Zoological Soc., Inc., 147 F.3d 209,

213-14 (2d Cir. 1998).

                The arbitrator's conclusions map the issues jointly submitted to him by the

parties. In answering the first part of the first issue, the arbitrator concluded that there was not

just cause for terminating Reynolds. Although petitioner notes that the arbitrator does not

explicitly invoke the words 'just cause," it is at least arguable that he applied the principle and

the contract generally in finding termination disproportionate to Reynolds' offense. In

addressing the second prong of the first issue submitted by the parties, the arbitrator presented

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, the "remedy," which was that Reynolds should be reinstated, without back pay or seniority

 benefits for the period at issue.

                   For this reason, petitioner's argument that the award failed to address language

 contained in the CBA addendum also fails. I conclude that Reynolds acted within the scope of

 his authority.



        D.        Manifest Disregard of the Law

                  Petitioner finally argues that the arbitrator's decision was in manifest disregard

 for the law and the CBA. While minimal, the arbitrator does recite a basis for his decision:

Reynold' s long employment history. Contrary to petitioner's arguments, the arbitrator does

consider the credibility of other allegations against Reynolds and declines to weigh them in his

analysis, because they were not formalized. The arbitrator also recognized the seriousness of

Reynolds' conduct by converting the period between Reynolds' termination and the award into a

lengthy suspension without pay, benefits, and the accrual of seniority. Given the highly

deferential standard ofreview and the breadth of discretion afforded by a standard based on ')ust

cause," I conclude that the arbitrator did not act in manifest disregard of the law.



        E.        Other Remedies

                  Respondent seeks back pay and prejudgment interest for Reynolds from the date

of the arbitral award up to the date of reinstatement. The arbitrator directed that Reynolds "shall

be returned to service as quickly as possible in line with Barnard's admission/readmission

policy." Respondent has not made any showing as to the earliest possible date consistent with

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this policy. Consequently, I decline to order such an award here. Similarly, I decline to award

attorneys' fees, which are not provided for in any agreement between the parties.



                                            Conclusion

               For the reasons stated herein, petitioner's motion to vacate the arbitration is

denied, and respondent's motion to confirm the arbitration is granted. The clerk shall terminate

the motion (ECF 15), enter judgment for respondent, and close the case.



SO ORDERED.

Dated:

                                                     United States District Judge




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